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                                                 U.S. Department of Justice

                                                 Channing D. Phillips
                                                 Acting United States Attorney

                                                 District of Columbia


                                                 Judiciary Center
                                                 555 Fourth St., N.W.
                                                 Washington, D.C. 20530


                                               September 21, 2021

Michelle M. Sweet, Esq.                 Eugene Gorokhov, Esq.
Federal Public Defender                 Burnham & Gorokhov, PLLC
District of Oregon                      1424 K Street NW, Suite 500
101 SW Main Street, Suite 1700          Washington, D.C. 20005
Portland, OR 97204

      Re:    United States v. Jonathan Peter Klein & Matthew Leland Klein
             Case No. 21-CR-237

Dear Counsel:

       I have uploaded to USAfx an additional batch of discovery consisting of the
Non-Sensitive and Sensitive items identified in Attachment A to this letter. The
government reserves the right to modify these designations to the extent an item’s
sensitivity was not properly categorized in this preliminary discovery. Please let me
know if there are any items for which you would like a designation to be reviewed or
reconsidered.

      The referenced materials are contained in a folder entitled
                  , which is located at:

             •                                                                   .

      Please let me know if you do not receive an invitation to or have any difficulties
accessing this folder or would like to discuss any of the materials.

                                               Sincerely,

                                               s/ Christopher K. Veatch
                                               CHRISTOPHER K. VEATCH
                                               Assistant United States Attorney
                       ATTACHMENT
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Protective Order
  Designation                                        File Name
  SENSITIVE        266O-PD-3386048_0000012_1A0000008_0000001_Redacted.pdf
  SENSITIVE        266O-PD-3386048_0000012_1A0000008_0000002_Redacted.pdf
  SENSITIVE        266O-PD-3386048_0000012_1A0000008_0000003_Redacted.pdf
  SENSITIVE        266O-PD-3386048_0000012_1A0000008_0000004_Redacted.pdf
  SENSITIVE        266O-PD-3386048_0000012_1A0000008_0000005_Redacted.pdf
  SENSITIVE        266O-PD-3386048_0000012_Redacted.pdf
  SENSITIVE        266O-PD-3386048_0000046.pdf
  SENSITIVE        266O-PD-3386048_0000046_1A0000035_0000001.pdf
  SENSITIVE        266O-PD-3386048_0000046_Import_Redacted.pdf
  SENSITIVE        Review of 1B7 & 1B8 (PD-3386044)
  SENSITIVE        Review of 1B10 (PD-3386044)
NON-SENSITIVE      CAPVID_00001_ABQ Raw 31 Minute youtube.com watch v=YONAuAesjAY
NON-SENSITIVE      CAPVID_00002_ABQ Raw 9 minute youtube.com watch v=oYxKioXhve0
NON-SENSITIVE      CAPVID_00003_ABQ Raw Anatomy of a Riot youtube.com
NON-SENSITIVE      CAPVID_00004_ABQ Raw People Storm the Capitol youtube.com
NON-SENSITIVE      CAPVID_00005_Banned-Video What REALLY Happen at the Capitol
                   CAPVID_00006_BG on the Ground - Trump Supporters Storm US Capitol in DC
NON-SENSITIVE      youtube.com
NON-SENSITIVE      CAPVID_00007_Block Video

NON-SENSITIVE      CAPVID_00008_BREAKING_ Trump Supporters Breach Barriers and Storm Capitol
NON-SENSITIVE      CAPVID_00009_Capitolhunters walking outside capitol twitter.com

NON-SENSITIVE      CAPVID_00010_Channel 4 News Proud boys leader will continue to happen youtube.com
NON-SENSITIVE      CAPVID_00011_ElijahSchaffer Twitter assault on the barricades

NON-SENSITIVE      CAPVID_00012_Hunting Insurrectionists Columbus Door Parler Videos youtube.com

NON-SENSITIVE      CAPVID_00013_Hunting Insurrectionists East Columbus Doors 1345 - 1645 youtube.com
NON-SENSITIVE      CAPVID_00014_Hunting Insurrectionists Joe Biggs Timeline youtube.com
NON-SENSITIVE      CAPVID_00015_Hunting Insurrectionists youtube.com
                   CAPVID_00016_Hunting Insurrectionists Terrorist breach the West Barricades
NON-SENSITIVE      youtube.com
                   CAPVID_00017_Hunting Insurrectionists Terrorist break into Capitol multiple angles
NON-SENSITIVE      youtube.com
NON-SENSITIVE      CAPVID_00018_Insurgence full video seige on capitol youtube.com
NON-SENSITIVE      CAPVID_00019_Miami Proudboy - MoSD brief youtube
NON-SENSITIVE      CAPVID_00020_Nabert Biggs timeline twitter.com
NON-SENSITIVE      CAPVID_00021_Nabert BulgePB twitter.com
NON-SENSITIVE      CAPVID_00022_Nigrotime Capitol Riots Raw Footage youtube.com
NON-SENSITIVE      CAPVID_00023_Nigrotime The US Capitol Breach as it happened youtube.com
NON-SENSITIVE      CAPVID_00024_Nine_niall Twitter subjects entering
NON-SENSITIVE      CAPVID_00025_Propublica Parler 1253 Near Capitol - Breaching Fence

NON-SENSITIVE      CAPVID_00026_Propublica Parler 1357 Near Capitol Barricades Being Removed
NON-SENSITIVE      CAPVID_00027_Propublica Parler 1406 Near Capitol Pushing Past Police Line
NON-SENSITIVE      CAPVID_00028_Propublica Parler 1411 Near Capitol Pushing up Scaffolding
                   CAPVID_00029_Propublica Parler 1412 Near Capitol Reaching Walls and Banging on
NON-SENSITIVE      Windows
NON-SENSITIVE      CAPVID_00030_Propublica Parler 1413 Near Capitol - Radio
NON-SENSITIVE      CAPVID_00031_Propublica Parler 1413 Near Capitol - Windows
NON-SENSITIVE      CAPVID_00032_Propublica Parler 1414 Inside the Capitol
NON-SENSITIVE      CAPVID_00033_Propublica Parler 1415 Inside the Capitol
NON-SENSITIVE      CAPVID_00034_Propublica Parler 1501 inside the Capitol - Rotunda
NON-SENSITIVE      CAPVID_00035_Propublica Parler 1512 Inside the Capitol
NON-SENSITIVE      CAPVID_00036_realJamesKlug Twitter Klein brothers breach door part 2


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Protective Order
  Designation                                         File Name
NON-SENSITIVE      CAPVID_00037_realJamesKlug Twitter Klein brothers breach door
NON-SENSITIVE      CAPVID_00038_RFIRN Eastside Capitol Building youtube.com
NON-SENSITIVE      CAPVID_00039_SRM Pro Trump Protestors Beat Police Officer youtube.com
NON-SENSITIVE      CAPVID_00040_SRM Scenes of Chaos outside US Capitol youtube.com
NON-SENSITIVE      CAPVID_00041_The Sun Live Stream youtube.com
                   CAPVID_00042_washingtondc theellipse live irl LIVE in DC where Trump has called in
NON-SENSITIVE      the PATRIOTS
NON-SENSITIVE      CAPVID_00043_Video showing breach and Pezzola shield carry
NON-SENSITIVE      CAPVID_00044_IMG_9475
NON-SENSITIVE      CAPVID_00045_IMG_9476
NON-SENSITIVE      CAPVID_00046_IMG_9477
NON-SENSITIVE      CAPVID_00047_IMG_9481
NON-SENSITIVE      CAPVID_00048_IMG_9483
NON-SENSITIVE      CAPVID_00049_IMG_9492
NON-SENSITIVE      CAPVID_00050_IMG_9495
NON-SENSITIVE      CAPVID_00051_IMG_9496
NON-SENSITIVE      CAPVID_00052_IMG_9508
NON-SENSITIVE      CAPVID_00053_IMG_9531
NON-SENSITIVE      CAPVID_00054_IMG_9573
NON-SENSITIVE      CAPVID_00055_4104714703243719183
NON-SENSITIVE      CAPVID_00056_camvideo_5702bda6
NON-SENSITIVE      CAPVID_00057_IMG_1538
NON-SENSITIVE      CAPVID_00058_IMG_1539
NON-SENSITIVE      CAPVID_00059_IMG_1540
NON-SENSITIVE      CAPVID_00060_IMG_1542
NON-SENSITIVE      CAPVID_00061_IMG_1543
NON-SENSITIVE      CAPVID_00062_IMG_1544
NON-SENSITIVE      CAPVID_00063_IMG_1545
NON-SENSITIVE      CAPVID_00064_IMG_1546
NON-SENSITIVE      CAPVID_00065_IMG_1547
NON-SENSITIVE      CAPVID_00066_IMG_1548
NON-SENSITIVE      CAPVID_00067_IMG_1549
NON-SENSITIVE      CAPVID_00068_IMG_1550
NON-SENSITIVE      CAPVID_00069_IMG_1551
NON-SENSITIVE      CAPVID_00070_IMG_1552
NON-SENSITIVE      CAPVID_00071_IMG_1553
NON-SENSITIVE      CAPVID_00072_IMG_1554
NON-SENSITIVE      CAPVID_00073_IMG_1555
NON-SENSITIVE      CAPVID_00074_IMG_1556
NON-SENSITIVE      CAPVID_00075_IMG_1557
NON-SENSITIVE      CAPVID_00076_IMG_1558
NON-SENSITIVE      CAPVID_00077_IMG_1559
NON-SENSITIVE      CAPVID_00078_IMG_1560
NON-SENSITIVE      CAPVID_00079_IMG_1561
NON-SENSITIVE      CAPVID_00080_IMG_1562
NON-SENSITIVE      CAPVID_00081_IMG_1563
NON-SENSITIVE      CAPVID_00082_IMG_1564
NON-SENSITIVE      CAPVID_00083_IMG_1566
NON-SENSITIVE      CAPVID_00084_IMG_1568
NON-SENSITIVE      CAPVID_00085_IMG_1569
NON-SENSITIVE      CAPVID_00086_IMG_1570
NON-SENSITIVE      CAPVID_00087_IMG_1572
NON-SENSITIVE      CAPVID_00088_IMG_1573
NON-SENSITIVE      CAPVID_00089_IMG_1575
NON-SENSITIVE      CAPVID_00090_IMG_1576
NON-SENSITIVE      CAPVID_00091_IMG_1577


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  Designation                                            File Name
NON-SENSITIVE      CAPVID_00092_IMG_1578
NON-SENSITIVE      CAPVID_00093_IMG_1580
NON-SENSITIVE      CAPVID_00094_IMG_1581
NON-SENSITIVE      CAPVID_00095_IMG_1582
NON-SENSITIVE      CAPVID_00096_IMG_1583
NON-SENSITIVE      CAPVID_00097_IMG_1584
NON-SENSITIVE      CAPVID_00098_IMG_1585
NON-SENSITIVE      CAPVID_00099_IMG_1588
NON-SENSITIVE      CAPVID_00100_IMG_1589
NON-SENSITIVE      CAPVID_00101_IMG_1592
NON-SENSITIVE      CAPVID_00102_IMG_1593
NON-SENSITIVE      CAPVID_00103_IMG_1594
NON-SENSITIVE      CAPVID_00104_IMG_1595
NON-SENSITIVE      CAPVID_00105_IMG_1596
NON-SENSITIVE      CAPVID_00106_IMG_1597
NON-SENSITIVE      CAPVID_00107_IMG_1598
NON-SENSITIVE      CAPVID_00108_IMG_1599
NON-SENSITIVE      CAPVID_00109_IMG_1600
NON-SENSITIVE      CAPVID_00110_IMG_1601
NON-SENSITIVE      CAPVID_00111_IMG_1602
NON-SENSITIVE      CAPVID_00112_IMG_1603
NON-SENSITIVE      CAPVID_00113_IMG_1604
NON-SENSITIVE      CAPVID_00114_IMG_1606
NON-SENSITIVE      CAPVID_00115_IMG_1607
NON-SENSITIVE      CAPVID_00116_IMG_1610
NON-SENSITIVE      CAPVID_00117_IMG_1611
NON-SENSITIVE      CAPVID_00118_IMG_1612
NON-SENSITIVE      CAPVID_00119_IMG_1614
NON-SENSITIVE      CAPVID_00120_IMG_1615
NON-SENSITIVE      CAPVID_00121_IMG_1616
NON-SENSITIVE      CAPVID_00122_IMG_1617
NON-SENSITIVE      CAPVID_00123_IMG_1618
NON-SENSITIVE      CAPVID_00124_IMG_1619
NON-SENSITIVE      CAPVID_00125_IMG_1620
NON-SENSITIVE      Eddie Block Photos and Videos - January 6




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